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     IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                                  VIRGINIA
                              Alexandria Division

UNITED STATES OF AMERICA,                             :
                                                      :
v.                                                    :      Docket No.: 1:18CR00330
                                                      :      The Honorable T.S. Ellis, III
LOGAN McCAULEY                                        :
         Defendant.                                   :

                              DEFENSE POSITION ON STATUS
       COMES NOW LOGAN McCAULEY, Defendant in the above styled case, by and

through Counsel, and hereby files his position with respect to the status of this case. Given the

pandemic and related lockdowns, Mr. McCauley has waived his appearance at the January 22,

2021 hearing as evidenced by his waiver filed on January 13, 2021.

                                           Introduction

       Though the Fourth Circuit opinion nominally vacated Mr. McCauley’s conviction on the

basis of the improper jury instruction on “purpose”, the attached Opinion is a clear statement to

the United States Attorney’s Office that there is no violation of Section 2251 here. As this

Court noted several times throughout the proceedings, this is a state case. Judges Wilkinson,

King and Motz likewise commented during Oral Argument that this is a state case. The written

Opinion even directs the prosecution to the Virginia Statute under which McCauley had already

been charged in the Virginia Circuit Court. Finally, the Opinion makes it clear the conduct here

simply does not violate Section 2251. This Court should rightly dismiss the case if the

government opts to do anything other than send this back to the Circuit Court of Loudoun

County.
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                                            Factual Background

       Logan McCauley, a mentally challenged 24-year old adult living in his mother’s

basement, in Hamilton, Virginia was charged in a one count indictment with Production of Child

Pornography in violation of 18 U.S.C. § 2251. The charge was a based on a single, consensual 19

second iPhone video fragment made in the spur of the moment in the midst of-and incidental to-

the sexual moment.

       Logan McCauley believed he was in an age-appropriate relationship with a 22-year old

former high school classmate named Kayla Washington. McCauley believed this to be true both

because of his mental infirmities as well as the minor’s organized and sophisticated campaign of

deception in which she actively and repeatedly lied to Logan (and her other 5000+ online

followers) about her age, name, and life story. Though Logan initially refused to pick her up, her

repeated pleas to him about her situation--at one point saying she was going to die--resulted in

this encounter.

       As the Court will remember, the indisputable evidence in this case is that there had been

no discussions about making any video prior to two consensually engaging in sex and that Logan

simply made a spur of the moment decision make the video mid-coitus. As Logan told the

detectives: “We were in the middle of sex, and I asked her if we could do the video . . . I just kind

of grabbed my phone.” (emphasis added). There was no specialized equipment. There was no

production. He never shared or posted the video and, in fact, gave it to the detective without even

being asked about its existence. Logan had all but resolved his case in the state system when the

federal authorities arrested him and sought a 15 year mandatory minimum.
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       Given these indisputable facts, the government was only able to secure a conviction after

convincing this Court to instruct the jury that the government need only prove (1) that “a

purpose” of the sexual activity was to create the video and (2) that Logan could spontaneously

form this specific intent at any time during the sex act. As the Fourth Circuit found, these

government initiated instructions fatally misconstrued the parameters of the statute.



                               The Fourth Circuit Opinion

       If there are two overarching themes to the Opinion and to the Oral argument, they are

these: (1) this is a state case (as Your Honor repeatedly opined) and (2) 2251 does not

criminalize the spontaneous decision to make a video in the midst of a sex act (which is exactly

what happened here).

       The Opinion is attached in its entirety but here are particularly pertinent sections:

           The Constitution vests Congress with enumerated powers to punish certain

           behavior, while reserving the general police power for the States. U.S.

           Const. art. I, § 8; id. amend. X; see also United States v. Lopez, 514 U.S.

           549, 551, 561 (1995). Thus, given the structure of our federal criminal

           justice system, we would expect that state laws criminalizing sexual

           activity with minors would encompass a broader range of conduct than

           federal laws. Here, for example, the criminal conduct of placing minors in

           sexual activity is captured by criminal statutes other than § 2251(a)—in

           particular, state sexual abuse provisions, which often impose strict

           liability. See, e.g., Md. Code Ann., Crim. Law § 3-304; N.C. Gen. Stat. §

           14-27.25; S.C. Code Ann. § 16-3-655. This includes the state sexual abuse
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           provision under which the defendant was originally—and could still be—

           prosecuted. See Va. Code. Ann. § 18.2-63 (statutory maximum of ten

           years).



           Our own precedent confirms both the breadth and the limits of § 2251(a).

           In Palomino-Coronado, we vacated a defendant’s conviction because

           “[t]he single photo [was] not evidence that Palomino-Coronado engaged

           in sexual activity with [the minor] to take a picture, only that he engaged

           in sexual activity with [the minor] and took a picture.” 805 F.3d at 132.

           Accordingly, § 2251(a) does not criminalize a spontaneous decision to

           create a visual depiction in the middle of sexual activity without some

           sufficient pause or other evidence to demonstrate that the production

           of child pornography was at least a significant purpose. Adducing “a

           purpose” arising only at the moment the depiction is created

           erroneously allows the fact of taking an explicit video of a minor to

           stand in for the motivation that animated the decision to do so.

           (emphasis added).

       Given this holding, there can be no question that the Fourth Circuit quite

specifically and bluntly put this case back in the government’s hands to prosecute in

state court--consistent with what this Court had already told the prosecution. There

are now two Fourth Circuit cases directly on point, Palomino and McCauley itself. In

short, the conduct here should not be prosecuted under 2251.
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                                                     Respectfully submitted,
                                                     Logan McCauley


                                                     By Counsel
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                                  CERTIFICATE OF SERVICE

      I, hereby certify, that on the 14th day of January, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send a notification of such filing
(NEF) to the following and all parties to this action:


United States Attorney's Office
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                                                     ________/s/_____________
                                                     Frank Salvato
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